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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        )
                                                )
               v.                               )
                                                )
RICHARD W. GATES III,                           )           Crim. No. 17-201-2 (ABJ)
                                                )
               Defendant.                       )           FILED UNDER SEAL


MOTION FOR LEAVE TO FILE UNDER SEAL EXHIBIT 1 TO NOTICE OF SERVICE
                        UPON DEFENDANT

       Undersigned counsel hereby moves this Court for leave to file under seal Exhibit 1 to be

included with undersigned counsel’s Notice of Service Upon Defendant (ECF #164).

Undersigned counsel contends that despite the general policy that public access to judicial

proceedings and judicial records is important to the proper functioning of our justice system,

there is good cause and compelling reasons in this instance for the proposed attachment to not be

publicly disclosed. More specifically, the exhibit discloses private information regarding Mr.

Gates. The Court has noted on more than one occasion that this case is subject to substantial

publicity and media coverage. The exhibit involves highly sensitive matters concerning the

Defendant and public disclosure of the information would potentially be prejudicial to the

Defendant.

       WHEREFORE, undersigned counsel hereby respectfully moves this Court for leave to

file under seal Exhibit 1 to undersigned counsel’s Notice of Service Upon Defendant.
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                            Respectfully submitted,


                            _/s/Shanlon Wu_______________
                            Shanlon Wu
                            D.C. Bar No. 422910
                            Wu, Grohovsky & Whipple, PLLC
                            Ronald Reagan Building and International
                            Trade Center
                            1300 Pennsylvania Avenue, NW, Suite 700
                            Washington, DC 20004
                            swu@dcwhitecollar.com
                            202-204-3053 office
                            202-747-7518 fax

                            Walter Mack
                            Admitted Pro Hac Vice
                            Doar Rieck Kaley & Mack
                            217 Broadway, Suite 707
                            New York, NY 10007-2911
                            212-619-3730 (Telephone)
                            212-962-5037 (Facsimile)

                            Annemarie McAvoy
                            Admitted Pro Hac Vice
                            McAvoy Consulting, LLC
                            mcavoypc@rocketmail.com
                            917-750-8131 (Telephone)

                            Attorneys for Richard W. Gates III




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